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 6

 7                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 8                                   SAN FRANCISCO DIVISION
 9
10   VIRGINIA M. LAMBRIX, et al., on behalf of           Case No. 3:23-cv-1145-TLT
     themselves and all others similarly situated,
11                                                       NOTICE OF CHANGE OF ADDRESS
                                           Plaintiffs,
12          v.
13   TESLA, INC.,
14                                      Defendants.

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     NOTICE OF CHANGE OF ADDRESS
     Case No.: 3:23-cv-1145-TLT
         Case 3:23-cv-01145-TLT Document 155 Filed 05/16/24 Page 2 of 2




 1          PLEASE TAKE NOTICE that, pursuant to Civil L. R. 3-11 of the Civil Local Rules, Stephen

 2   J. Teti, Counsel for Plaintiffs, hereby provides notice of change of his contact information as counsel

 3   of record. All future pleadings, papers, correspondence, and electronic filings in this action should be

 4   sent to the following address:

 5

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12   DATED: May 16, 2024.                          Respectfully submitted,
13
                                                   LOCKRIDGE GRINDAL NAUEN PLLP
14
                                                   By /s/ Stephen J. Teti
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